                                                                                      Motion GRANTED
                                                                                      for extension to
                            UNITED STATES DISTRICT COURT                              8/23/12 at 5:00 PM.
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
                                               )
       v.                                      )        No. 3:11-00204-1
                                               )        JUDGE TRAUGER
                                               )
MANILA VICHITVONGSA                            )
a/k/a MANEE VICHITVONGSA                       )


     MOTION FOR EXTENSION OF TIME TO FILE AGREED JURY INSTRUCTIONS,
          ALTERNATIVE JURY INSTRUCTIONS AND VERDICT FORMS

       The defendant, Manila Vichitvongsa, through counsel, respectfully moves this Honorable

Court for an extension of time, until close of business Thursday, August 23, 2012, in which to

file agreed jury instructions, alternative jury instructions and verdict forms. Trial is set for

August 28, 2012. By order dated April 3, 2012, (Docket No. 43), this Court set a deadline of not

later than close of business on Tuesday, August 21, 2012, for the parties to file agreed jury

instructions, alternative jury instructions and agreed or alternative verdict forms. An extension

is required because counsel requires additional time to discuss the proposed jury instructions in

an effort to reach an agreement. The parties will then be in a position to file agreed jury

instructions, and any alternative/additional jury instructions, if necessary.

       Accordingly, it is respectfully requested that the Court grant an extension until close of

business on Thursday, August 23, 2012, in which to file agreed or alternative jury instructions

and verdict forms.


                                               Respectfully submitted,

                                                  s/ Ronald C. Small
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